       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Stephen Moncrief
       v. Adam J. Deno, d/b/a Law Office of Adam Deno
       Record No. 0342-22-2
       Opinion rendered by Judge Raphael on
        January 24, 2023

    2. Daniel Rock
       v. Commonwealth of Virginia
       Record No. 0343-22-3
       Opinion rendered by Judge Huff on
        January 24, 2023

    3. Karey Burkholder and Douglas Thompson, Jr.
       v. Palisades Park Owners Association, Inc.
       Record No. 0187-22-4
       Opinion rendered by Judge Raphael on
        February 7, 2023

    4. Michael A. Dobson
       v. Commonwealth of Virginia
       Record No. 0302-22-2
       Opinion rendered by Judge Raphael on
        February 7, 2023

    5. Audrey Hubbard
       v. Commonwealth of Virginia
       Record No. 0565-22-4
       Opinion rendered by Judge Athey on
        February 7, 2023

    6. Osman Osman
       v. Commonwealth of Virginia
       Record No. 1416-21-4
       Panel rehearing opinion rendered by Judge Huff on
        February 14, 2023
7. Theodore Theologis
   v. Mark Weiler, Patricia James, Daria Collins, Khai Wisler and Janis Baldwin
   Record No. 0133-22-4
   Opinion rendered by Judge Raphael on
    February 14, 2023
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Kimberly Paul Barney
    v. Commonwealth of Virginia
   Record No. 1057-20-1
    Opinion rendered by Judge Huff
     on November 3, 2021
   Judgment of Court of Appeals reversed and final judgment entered reinstating
     conviction by opinion rendered on March 16, 2022 (211126)

2. Michael B. Yourko
    v. Lee Ann B. Yourko
   Record No. 0363-21-1
    Opinion rendered by Judge Friedman
     on December 21, 2021
   Judgment of Court of Appeals reversed and trial court’s decision dismissing
     appellant’s motion to amend final decree reinstated by opinion rendered
     on March 30, 2023 (220039)
